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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS


 STRIKE 3 HOLDINGS, LLC,                             Civil Case No. 3:23-cv-01669-B

          Plaintiff,                                 Judge Jane J. Boyle

 v.

 JOHN DOE subscriber assigned IP address
 24.170.6.13,

          Defendant.


      PLAINTIFF’S APPLICATION FOR EXTENSION OF TIME WITHIN WHICH TO
                EFFECTUATE SERVICE ON JOHN DOE DEFENDANT

         Pursuant to Fed. R. Civ. P. 4(m), Plaintiff, Strike 3 Holdings, LLC (“Plaintiff”), makes

this application for entry of an order extending the time within which to effectuate service on

John Doe Defendant, and states:

         1.      This is a copyright infringement case against a John Doe Defendant known to

Plaintiff only by an IP address. Defendant’s true identity is known by their Internet service

provider (“ISP”).

         2.      On August 4, 2023, Plaintiff filed a Motion for Leave to Serve a Third-Party

Subpoena Prior to a Rule 26(f) Conference (“Motion”) in order to serve a third-party subpoena

on Defendant’s ISP.

         3.      Pursuant to Fed. R. Civ. P. Rule 4(m), Plaintiff was required to effectuate service

on the Defendant no later than October 25, 2023. On October 25, 2023, Plaintiff filed its first

application for extension of time to serve Defendant (“Application”). On October 26, 2023, the

Court struck the Motion and the Application because they were filed under seal. The Court also

permitted Plaintiff to refile the Motion and Application unsealed. On October 27, 2023, Plaintiff

refiled the Motion unsealed on the public docket.
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       4.      Therefore, Plaintiff’s Motion is pending before the Court. Without permission to

serve a subpoena on Defendant’s ISP, Plaintiff cannot learn Defendant’s identity and, therefore,

is unable to comply with the current deadline to effectuate service of process.

       5.      For the foregoing reason, Plaintiff respectfully requests that the time within which

it has to effectuate service of the summons and Amended Complaint on Defendant be extended

an additional 60 days (60) days, and thus the deadline to effect service be extended to December

24, 2023.

       6.      This application is made in good faith and not for the purpose of undue delay.

       7.      This is Plaintiff’s first request for an extension. None of the parties will be

prejudiced by the granting of this extension.

       WHEREFORE, Plaintiff respectfully requests that the time within which it has to

effectuate service of the summons and Amended Complaint on Defendant be extended until

December 24, 2023.

Dated: October 27, 2023                               Respectfully submitted,


                                                      By: /s/ Paul S. Beik
                                                      PAUL S. BEIK
                                                      Texas Bar No. 24054444
                                                      BEIK LAW FIRM, PLLC
                                                      917 Franklin Street, Suite 220
                                                      Houston, TX 77002
                                                      T: 713-869-6975
                                                      F: 713-583-9169
                                                      E-mail: paul@beiklaw.com

                                                      ATTORNEY FOR PLAINTIFF




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                                 Certificate of Non-Conferral

       Because Defendant has not yet been identified, Plaintiff was unable to confer with

Defendant or his or her counsel regarding the present Application.



                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK




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